     Case: 4:20-cv-00087-DMB-JMV Doc #: 45 Filed: 10/27/21 1 of 1 PageID #: 338




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             GREENVILLE DIVISION

LANITA FORD DAVIS                                                                   PLAINTIFF

V.                                                                 NO. 4:20-CV-87-DMB-JMV

UNITED CHURCH HOMES
MANAGEMENT, INC. AND UNITED
CHURCH HOMES, INC                                                               DEFENDANTS

                                            ORDER

       Before this court is the Defendants’ Motion for Relief to Allow Defendants’ Representative

to Attend the Settlement Conference by Telephone [44]. For good cause shown and being notified

that the motion is unopposed, the court finds that the motion is well-taken and should be granted.

The Defendants are permitted to have their representative attend the Settlement Conference by

telephone.

       SO ORDERED this, the 27th day of October, 2021.


                                             /s/Jane M. Virden
                                             UNITED STATES MAGISTRATE JUDGE
